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                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                                                                                            July 30, 2024
                              UNITED STATES BANKRUPTCY COURT                                             Nathan Ochsner, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                             §
In re:                                                       § Chapter 11
                                                             §
STRUDEL HOLDINGS LLC and                                     § Case No. 23-90757 (CML)
AVR AH LLC,                                                  §
                                                             § (Jointly Administered)
                   Debtors.1                                 §
                                                             §

         ORDER GRANTING DEBTORS’ EMERGENCY MOTION TO APPROVE
         SETTLEMENT TERM SHEET AND DISMISSAL OF CHAPTER 11 CASES
                          [Relates to Docket No. 486]

         Upon the Debtors’ Emergency Motion to Approve Settlement Term Sheet and Dismissal

of Chapter 11 Cases (the “Motion”)2 and this Court having jurisdiction to consider the Motion and

the relief requested therein in accordance with 28 U.S.C. § 1334; and this Court having found that

this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. § 1408;

and this Court having determined that the relief requested in the Motion is in the best interests of

the Debtors, their estates, their creditors, and other parties in interest; and this Court having found

that the Debtors provided appropriate notice of the Motion and the opportunity for a hearing on

the Motion under the circumstances and that no other or further notice is necessary; and this Court

having determined that the legal and factual bases set forth in the Motion and the hearing with




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       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen,
CO 81612.
2
         All terms not specifically defined herein shall have the meaning set forth in the Motion.


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respect to the Motion establish just cause for the relief granted herein; and after due deliberation

thereon; and good and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.        The Term Sheet attached as Exhibit 1 (the “Term Sheet”) is approved; provided,

however, that the Outside Time, as defined in the Term Sheet, shall be August 6, 2024 instead of

July 31, 2024.

       2.        The Term Sheet shall be binding on and enforceable against all parties who are

signatories to the Term Sheet in accordance with its terms.

       3.        The HOA Settlement Agreement, substantially in the form of Exhibit 2 hereto, is

incorporated herein by reference, and upon the finding of the good and sufficient consideration

therefor as set forth therein, is hereby approved in every respect and shall be binding on the parties

thereto in accordance with its terms.

       4.        As set forth in the Term Sheet, immediately upon the closing of the Sale (as defined

in the Term Sheet and Motion), the Title Company of the Rockies (or any subsequent or

replacement title company conducting the Sale) shall directly transfer:

            a. the confidential Settlement Payment as set forth in the Term Sheet (the “Settlement

                 Payment”) to the Secured Parties; and

            b. $600,000.00 (the “Administrative Expense Payment”) to Porter Hedges LLP’s

                 IOLTA account in accordance with the Term Sheet.

       5.        Upon (i) payment of both the Settlement Payment and the Administrative Expense

Payment, (ii) execution of the final Settlement Agreement contemplated under the Term Sheet,

(iii) execution of the final HOA Settlement Agreement contemplated under the Term Sheet and

payment of the Settlement Payment (as defined in the HOA Settlement Agreement) and (iv) the

occurrence of the Settlement Effective Date, Ajax Holdings, LLC shall be deemed to have waived



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its claims against the Debtors’ estates, including in connection with its provision of debtor in

possession financing pursuant to the order at Docket No. 163.

       6.      As set forth in the Term Sheet, Computershare is directed and ordered under this

Order, to disburse and release the Escrow Property held by Computershare Trust Company, N.A.

pursuant to the Escrow Agreement dated as of January 31, 2024 between Chiron AVR LLC and

Computershare Trust Company, N.A. (the “AVR Escrow Agreement”) to Chiron AVR LLC on

July 31, 2024. This order and direction to Computershare shall expressly survive the termination

of the Term Sheet, the final settlement agreement and/or the failure of the Sale Closing Date to

occur by the Outside Date. For the purposes of the AVR Escrow Agreement, this Order shall be

deemed a “Final Order” and shall satisfy the conditions to release of the Escrow Property to the

Secured Parties.

       7.      Notwithstanding the possible applicability of Bankruptcy Rule 6004(h) or any

applicable provisions of the Bankruptcy Rules or the Local Rules or otherwise stating the contrary,

the terms and conditions of this Order shall be immediately effective and enforceable upon its

entry, and any applicable stay of the effectiveness and enforceability of this Order is hereby

waived.

       8.      Within 5 days of satisfaction of the conditions set forth in paragraph 5 (including

the Settlement Closing Date) and following Debtors’ counsel’s receipt of email confirmation from

counsel to the HOA that counsel for the HOA has timely received and recorded with the Recorder

of Pitkin County, Colorado the Lien Releases provided for in Paragraph 9 hereof and in Section

5.1 of the HOA Settlement Agreement, the Debtors shall file a notice with the Court attaching a

dismissal order in substantially the same form as set forth in Exhibit 3, which the Court shall enter

dismissing these chapter 11 cases.



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       9.      Notwithstanding anything to the contrary in the Order (A) Authorizing and

Approving the Sale of Assets Free and Clear of All Liens, Claims, Encumbrances and Other

Interests, (B) Approving the Purchase and Sale Agreement, (C) Authorizing the Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases, and (D) Granting Related

Relief entered at Docket No. 245 (the “Sale Order”), any and all claims, liens or interests of any

kind and nature held by the Secured Parties with respect to the HOA Assets are hereby

unconditionally released and extinguished and the Secured Parties are hereby directed to take any

action and/or file any documents reasonably required to release the Secured Parties’ lien on the

HOA Assets.

       10.     The Title Company of the Rockies (or any subsequent or replacement title company

conducting the Sale) can rely on this Order in effectuating the transfers and/or making the

disbursements of the Settlement Payment to the Secured Parties and the Administrative Expense

Payment described in paragraph 4 and in the Title Company Instructions. The Souki/Debtor

Parties shall (i) irrevocably instruct the Title Company of the Rockies (or any subsequent title

company conducting the Sale) to transfer the proceeds of the Sale as described in paragraph 4, (ii)

not take any action or omit to take any action to directly or indirectly contravene, prevent, or

interfere with the Title Company of the Rockies (or any subsequent title company conducting the

Sale) making such disbursements or otherwise complying with the Title Company Instructions and

(iii) use best efforts to cause the Title Company of the Rockies (or any subsequent title company

conducting the Sale) to make such payments and comply with the Title Company Instructions.

The Title Company shall hold the Retraction Notice in escrow and shall only release the Retraction

Notice contemporaneously with the disbursement of the Settlement Payment and the

Administrative Expense Payment on the Sale Closing Date.



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       11.       The Court shall retain jurisdiction to enforce, interpret and implement the terms of

this Order as well as to decide any disputes that arise in connection with the Term Sheet, the final

settlement agreement and the HOA Settlement Agreement.

Signed:                           , 2024.

             August
             July      02, 2019
                  30, 2024
                                               HONORABLE CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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                       EXHIBIT 1
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                               SETTLEMENT TERM SHEET

 Description:           This term sheet (this “Term Sheet”) sets forth the principal terms of a
                        settlement (the “Settlement”) between the Secured Parties and the
                        Souki/Debtor Parties (each defined below) which shall constitute a global
                        resolution of all claims, liabilities and causes of action arising from the Loan
                        Documents and the Ajax Loans, including in relation to the chapter 11 cases
                        captioned In re Strudel Holdings, LLC et al., Case No. 23-90757 (the “Chapter
                        11 Cases”) and the adversary proceeding captioned AVR AH LLC et al. v.
                        NineTeen77 Capital Solutions A LP, et al., Adv. Prop. No. 23-9003 (the
                        “Adversary Proceeding”), each pending in the Bankruptcy Court for the
                        Southern District of Texas, Houston Division (the “Bankruptcy Court”),
                        Souki, et al. v. Nineteen77 Capital Solutions A LP, et al., Case No. 23-cv-7982-
                        JGLC, pending in the United States District Court for the Southern District
                        of New York, Souki, et al. v. Nineteen77 Capital Solutions A LP, et al., pending
                        in the Supreme Court of the State of New York, County of New York
                        (together, the “New York Proceeding”), all appeals related to the foregoing
                        and all claims, obligations and liabilities arising under, in connection with or
                        related to the Loan Documents and the Ajax Loans (each as defined below).

                        On and after the Term Sheet Effective Date, the Souki/Debtor Parties and
                        Secured Parties agree to work in good faith to negotiate and execute prior to
                        the Sale Closing Date (as defined below): (i) a definitive settlement
                        agreement among the Souki/Debtor Parties and the Secured Parties
                        consistent with this Term Sheet (the “Settlement Agreement”), (ii) a
                        definitive settlement agreement among the Souki/Debtor Parties, the
                        Secured Parties, the HOA Parties and Aspen Ranch (such agreement
                        substantially in the form of Exhibit A attached hereto, the “HOA Settlement
                        Agreement”), (iii) the form of dismissal order for the Chapter 11 Cases,
                        which shall provide for payment in full of the Debtors’ allowed
                        administrative expenses by the Souki/Debtor Parties (except for the HOA
                        Settlement Payment) and waiver of the Ajax Holdings DIP Claim (the
                        “Dismissal Order”), and (iv) all other ancillary documents to effectuate the
                        terms of the Settlement. The Settlement Agreement, the HOA Settlement
                        Agreement, the Dismissal Order and all other documents shall be in form
                        and substance satisfactory to the Souki/Debtor Parties, the Secured Parties
                        and the other parties to such documents and shall be finalized prior to the
                        Sale Closing Date.
 Secured Parties’       Reference is made to (i) the Loan Agreement, dated as of March 30, 2018 (as
 Loans and Pledge       amended, supplemented, restated or otherwise modified from time to time,
 Agreements             the “2018 Loan Agreement”), among the Borrower, the Lenders party
                        thereto, the Guarantors party thereto and the Administrative Agent; (ii) the
                        Loan Agreement, dated as of April 27, 2017 (as amended, supplemented,
                        restated or otherwise modified from time to time, the “2017 Loan
                        Agreement,” and together with the 2018 Loan Agreement, the “Loan
                        Agreements”) among the Borrower, the Lenders party thereto, the
                        Guarantors party thereto and the Administrative Agent; (iii) the Pledge
                        Agreement, dated as of March 30, 2018 (the “2018 Pledge Agreement”) by
                        Borrower, Charif Souki as Trustee of the Souki Family 2016 Trust effective
                        March 11, 2016, as amended , AVR AH LLC, a Colorado limited liability

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                        company and Strudel Holdings LLC, a Texas limited liability company
                        (together with Trust and AVR and the Borrower, the “Pledgors”), and the
                        Administrative Agent; (iv) the Pledge Agreement dated as of April 27, 2017
                        (the “2017 Pledge Agreement,” and together with the 2018 Pledge
                        Agreement, the “Pledge Agreements”) by the Pledgors and the
                        Administrative Agent; and (v) those certain Bridge Agreements dated as of
                        May 5, 2020 among the Borrower, the Guarantors, the Lenders, and the
                        Administrative Agent (together, the “Bridge Agreements” and, collectively
                        with the Loan Agreements, Pledge Agreements and related ancillary
                        documents as may be amended from time to time, the “Loan Documents”).

                        The Secured Parties represent that the Secured Obligations due under the
                        Loan Agreements equal to an amount no less than $94,233,949.58 as of July
                        18, 2024, with interest and costs continuing to accrue (the “Loan Balance”).

 Secured Parties        Nineteen77 Capital Solutions A LP, Bermudez Mutuari, Ltd. (together with
                        Nineteen77 Capital Solutions A LP, “Lenders”), Wilmington Trust National
                        Association (the “Administrative Agent”), and UBS Asset Management
                        (Americas) LLC (“UBS”), Chiron AVR LLC (“Chiron AVR”), Chiron Ajax
                        LLC (“Chiron Ajax”, together with the Lenders and the Administrative Agent,
                        the “Secured Parties”) along with their respective past, present and/or future:
                        principals, employees, officers, managers, directors, members, investors,
                        partners, limited partners, general partners, representatives, affiliates,
                        subsidiaries, parents, attorneys, agents, advisors, investment bankers,
                        administrators, predecessors, estates, predecessors, successors, agents, heirs,
                        trustees, executors, transferees, members, investors, assigns, insurers,
                        reinsurers and any Person in which they have or had a controlling interest
                        (collectively, the “Released Secured Parties”). The Released Secured Parties
                        shall include, but not be limited to, the following: Baxter Wasson, Rodrigo
                        Trelles, Jaeho Choi, Randal Johnson, Lilly Kaufmann, Theodore Drury, Dan
                        McNicholas, Michael Staheli, Jeff Rose, Barry Lynch, Alvarez & Marsal,
                        Cordes & Company, CBRE, Inc., Orrick, Herrington & Sutcliffe LLP, Snell
                        & Wilmer, Garfield & Hecht, P.C. and Alston & Bird.

 Souki/Debtor Parties   AVR AH LLC (“AVR”), Strudel Holdings LLC (“Strudel” and together with
                        AVR, the “Debtors”), Karim Souki (Charif’s son), Christopher Souki, and
                        Lina Rizzuto, as Trustees (collectively, the “Trustees”) of the Souki Family
                        2016 Trust (the “Trust”), Karim Souki (Charif’s brother) in his individual
                        capacity (“Karim Souki”), and Charif Souki in his individual capacity and as
                        equity holder, manager and member of the Debtors and as former Trustee
                        to the Trust (“Charif Souki”), Ajax Holdings LLC (“Ajax Holdings”), the
                        subsidiaries of Ajax Holdings (the “Ajax Subsidiaries”, and, together with
                        Ajax Holdings, “Ajax”), Will Herndon individually and in his capacity as
                        manager of Ajax Holdings and the Ajax Subsidiaries (“Herndon”), Brooke
                        A. Peterson, individually and in his capacity as manager of Ajax Holdings
                        and the Ajax Subsidiaries (“Peterson”) and Karim Souki (Charif’s son),
                        individually, (“K. Souki”, together with Herndon, the Debtors, the Trust, the
                        Trustees, Charif Souki, Karim Souki, Peterson and Ajax, the “Souki/Debtor
                        Parties”), along with their respective past, present and/or: principals,
                        employees, officers, managers, directors, members, investors, partners,

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                        limited partners, general partners, representatives, affiliates, subsidiaries,
                        parents, attorneys, agents, advisors, investment bankers, administrators,
                        predecessors, estates, predecessors, successors, agents, heirs, trustees,
                        executors, transferees, members, investors, assigns, insurers, reinsurers and
                        any Person in which they have or had a controlling interest (collectively, the
                        “Released Souki/Debtor Parties”). The Released Souki/Debtor Parties shall
                        include, but not be limited to, Oates, Knezevich, Gardenswartz, Kelly &
                        Ticsay, P.C., Yetter Coleman LLP, Hunton Andrews Kurth LLP, Porter
                        Hedges LLP and Stout Risius Ross, LLC.
 HOA Parties            Aspen Valley Ranch Homeowners Association, Inc. (the “HOA”), Three
                        Dolphins, LLC (“TD”), Beyond the Beach, LLC (“BTB”), Aspen Ranch
                        Acquisition LLC (“Aspen Ranch”) along with their respective past, present
                        and/or future: principals, employees, officers, managers, directors, members,
                        investors, partners, limited partners, general partners, representatives,
                        affiliates, subsidiaries, parents, attorneys, agents, advisors, investment
                        bankers, administrators, predecessors, estates, predecessors, successors,
                        agents, heirs, trustees, executors, transferees, members, investors, assigns,
                        insurers, reinsurers and any Person in which they have or had a controlling
                        interest (collectively, the “Released HOA Parties”). For the avoidance of
                        doubt, nothing in this Term Sheet is intended to bind the HOA, TD, BTB
                        or Aspen Ranch and the settlement with such parties will be set forth in the
                        HOA Settlement Agreement.
 Ajax Loans             Reference is made to (i) Promissory Note dated October 12, 2022 between
                        Ajax Holdings LLC, as borrower, and Souki Family 2016 Trust, as lender,
                        along with all ancillary and related documents (the “Trust Loan”) and (ii)
                        Promissory Noted dated September 10, 2020 between Ajax Holdings LLC,
                        as borrower, and Karim Souki, as lender (“Karim Loan”, together with the
                        Trust Loan and the Karim Loan (as amended, supplemented, restated or
                        otherwise modified from time to time) (the “Ajax Loans”).
 Ajax Holdings DIP      Ajax Holding will expressly waive and release its DIP Claim against the
 Claim                  Debtors.
 Ajax Property Sale




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 Settlement Payment                , due to the Secured Parties on the Sale Closing Date pursuant to
                       the Title Company Instruction.

                       The Settlement Amount shall be confidential and the parties shall move the
                       Bankruptcy Court to maintain the Settlement Amount under seal. The
                       Settlement Agreement shall contain standard confidentiality provisions with
                       standard carve-outs.
 HOA Claim and         $458,054
 HOA Settlement        The Secured Parties shall pay the HOA’s administrative expense claim
 Payment               pursuant to the terms of the HOA Settlement Agreement.
 Released Claims       The releases in the Settlement Agreement will provide that each of the
                       Souki/Debtor Parties and Secured Parties, releases, acquits, and forever
                       discharges the Released Secured Parties and the Released Souki/Debtor
                       Parties, respectively, from any and all obligations, dues, sums of money,
                       accounts, reckonings, bonds, bills, specialties, claims, counterclaims, cross-
                       claims, rights of setoff, debts, demands, covenants, contracts, premises,
                       agreements, variances, trespasses, damages (including direct, actual, special,
                       indirect, consequential or punitive damages), judgments, extents, executions,
                       liabilities, controversies, costs, expenses, attorneys’ fees, losses, suits, actions
                       or causes of action with respect to any matters, causes or things whatsoever,
                       whether known or unknown, whether accrued or not accrued, in law or equity,
                       arising from, related to, and in connection with the Loan Documents, the
                       Loan Balance, the Chapter 11 Cases, the Ajax Loans, the DIP Claim, the
                       Adversary Proceedings, the New York Proceeding and the Sale (the “Released
                       Claims”).

                       It is the intention of the Released Secured Parties and the Released
                       Souki/Debtor Parties the releases be the broadest form of release of liability
                       permitted by law and is meant to encompass, inter alia, any past, present or
                       future claim, whether known or unknown and accrued or not accrued,


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                        condition or injury, related to the Released Claims, except any claims that
                        may arise out of the breach of the Settlement Agreement.

                        The Settlement Agreement will provide that each of the Souki/Debtor
                        Parties and Secured Parties covenants that it shall not encourage, solicit,
                        initiate, institute, commence, file, maintain or otherwise prosecute, or
                        participate in, (including by providing financial support), whether directly or
                        indirectly, or through a third party, any action, lawsuit, cause of action, claim,
                        demand, or legal proceeding any kind to arising out of relating to any of the
                        Released Claims; provided that any of the Released Souki/Debtor Parties or
                        Released Secured Parties may commence an action to enforce the terms of
                        this Settlement Agreement, and that the Settlement Agreement may be
                        pleaded as a defense, counterclaim or crossclaim, and shall be admissible
                        into evidence without any foundation or testimony whatsoever.

                        The releases in the HOA Settlement Agreement will be substantially similar.
 Term Sheet Effective   This Term Sheet shall become binding on the Souki/Debtor Parties and the
 Date                   Secured Parties upon the time when each of the following has occurred (the
                        “Term Sheet Effective Date”):
                           1) Bankruptcy Court approval of Strudel and AVR’s entry into this
                                Term Sheet;
                           2) The Title Company’s receipt of the Title Company Instruction and
                                the Title Company acknowledging receipt to the Secured Parties,
                                which shall be satisfactory to the Secured Parties in all regards;
                           3) The Secured Parties’ and Debtors’ receipt of the purchase and sale
                                agreement for the Sale of the Ajax Property on an attorneys’ eyes-
                                only basis as provided in the Protective Order on record in the
                                Adversary Proceeding and the Chapter 11 Cases;
                           4) The Bankruptcy Court’s order approving the Debtors’ entry into the
                                Term Sheet shall include a final order, Computershare is directed
                                under a “Final Order”, to release the Escrow Property held by
                                Computershare Trust Company, N.A. pursuant to the Escrow
                                Agreement dated as of January 31, 2024 between Chiron AVR and
                                Computershare Trust Company, N.A. (the “AVR Escrow
                                Agreement”) to Chiron AVR on July 31, 2024, which condition and
                                order is not contingent on the Settlement Closing Date and shall
                                expressly survive the termination of this Term Sheet, the Settlement
                                Agreement and/or the failure of the Sale Closing Date to occur by
                                the Outside Date; and
                           5) Delivery of the Retraction Notice to the Title Company to hold in
                                escrow pursuant to the Bankruptcy Court’s order approving this
                                Term Sheet.

 Condition to           The closing of the settlement contemplated by this Term Sheet and the
 Effectiveness of       Releases contemplated hereby shall occur upon the date upon which each of
 Releases and the       the following has occurred (the “Settlement Closing Date”):
 Settlement Closing         1) Due execution and delivery of the Settlement Agreement by each of
 Date and Post-                 the parties thereto;
 Settlement Closing         2) Due execution and delivery of the HOA Settlement Agreement by
 Date Condition                 each of the parties thereto;

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                           3)  Receipt by the Secured Parties of the Settlement Payment;
                           4)  Receipt by the HOA of the HOA Settlement Payment;
                           5)  Release of the Retraction Notice by the Title Company;
                           6)  The Sale Closing Date shall have occurred;
                           7)  The Debtors or their designees shall have received the
                               Administrative Expense Payment;
                           8) Chiron AVR or its designee shall have received the Escrow Property
                               (as defined in the AVR Escrow Agreement);
                           9) The Bankruptcy Court shall have entered an order approving this
                               Term Sheet.
                       If any of the above conditions are not met, the Settlement Closing Date shall
                       be deemed not to have occurred, except with respect to the HOA and the
                       HOA Settlement Payment, all payments shall be returned to the party that
                       made such payment, and all parties shall be reinstated as if the settlement
                       had never occurred.

                       Within five (5) business days of the Settlement Closing Date and satisfaction
                       of each of the conditions thereto, the Debtors shall file the Dismissal Order
                       with the Court.
 Agreements Between    The Souki/Debtor Parties and the Secured Parties agree to the following:
 the Term Sheet            1) the Secured Parties shall (i) support the sale to the buyer and (ii) for
 Effective Date and            the purposes of the Sale, to become effective contemporaneously
 the Settlement                with closing, confirm that Will Herndon is duly authorized to
 Closing Date                  execute and deliver the applicable transaction documents, in each
                               case subject to the Title Company Instruction, this Term Sheet, the
                               Bankruptcy Court’s order approving this Term Sheet and the
                               Settlement Agreement;
                           2) the Souki/Debtor Parties will include Doug Brickley, the Debtors’
                               Chief Restructuring Officer, and counsel to the Debtors in all
                               material written and oral communications relating to the Sale,
                               including, without limitation, any closing calls;
                           3) the Debtors shall have the right to review and consent to all
                               documents related to the Sale, including any amendments to the
                               purchase agreement, which consent shall not be unreasonably
                               withheld;
                           4) Ajax shall keep the Secured Parties and the Debtors informed of the
                               status of Sale and the anticipated Sale Closing Date and promptly
                               notify the Secured Parties and the Debtors of any material
                               developments with respect to the Sale;
                           5) so long as the Title Company Instruction remains irrevocable and in
                               full force and effect and Doug Brickley is included in all material
                               written and oral communications regarding the Sale and the
                               Souki/Debtor Parties are in compliance with all of their obligations
                               in this Term Sheet, the Secured Parties will not contact the proposed
                               purchaser of the Ajax Properties or the lender of the proposed
                               purchaser without the participation of a representative of the
                               Souki/Debtor Parties with respect to the Sale or the Ajax Properties,
                               provided, that, if the proposed purchaser contacts the Secured
                               Parties with respect to the Sale or the Ajax Properties, the Secured
                               Parties may communicate with the proposed purchaser or lender for

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                                 the limited purpose of informing the proposed purchaser or lender
                                 that the Souki/Debtor Parties must be included in any
                                 communications; provided, further, that nothing contained herein
                                 shall limit the Secured Parties from communications with the
                                 proposed purchaser, the Title Company and/or the lender of the
                                 proposed purchaser if requested and expressly authorized by the
                                 Ajax Subsidiaries or their counsel and the Secured Parties shall have
                                 no liability to any of the Souki/Debtor Parties in connection with
                                 such communications made at request of the Souki/Debtor Parties;
                              6) the Secured Parties and Souki/Debtor Parties will each use
                                 commercially reasonable efforts to negotiate and agree to the HOA
                                 Settlement Agreement with the Released HOA Parties;
                              7) the Secured Parties will cooperate with the Souki/Debtor Parties in
                                 good faith to consummate the Sale
 Failure of Settlement   If the Settlement Closing Date fails to occur before the Outside Time, then:
 Closing Date to              1) the Bankruptcy Court will hold a hearing on the Secured Parties
 Occur                           Motion for Entry of a Judgment on August 6, 2024;
                              2) for the avoidance of doubt, the notices delivered to Souki/Debtor
                                 Parties on July 10, 2024, with respect to Ajax Holdings shall remain
                                 in full force and effect and the Retraction Notice shall be deemed
                                 automatically rescinded and of no force and effect and the notices
                                 delivered to the Souki/Debtors Parties on July 10, 2024 shall be
                                 automatically reinstated, provided, that all rights of the
                                 Souki/Debtor Parties to object to such notices is expressly reserved;
                                 and
                              3) this Term Sheet, the Settlement Agreement and any other document
                                 executed in connection herewith shall terminate and be deemed null
                                 and void and of no force and each party shall be relieved of any
                                 further obligations to perform thereunder effect except for
                                 agreements that expressly survive this Term Sheet and/or the
                                 Settlement Agreement.
 Amendments              This Term Sheet may be amended or waived with the written consent of
                         each Souki/Debtor Party and Secured Party, provided, that the
                         Souki/Debtor Parties and the Secured Parties shall not amend or waive any
                         provision relating to the settlement with the HOA without the prior consent
                         of the HOA Parties.
 Expenses:               Each party shall be responsible for its own expenses in connection with the
                         Settlement.
 Governing Law:          New York.




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             SETTLEMENT AGREEMENT AND MUTUAL GENERAL RELEASE

      This Settlement Agreement and Mutual General Release (the “Settlement Agreement”) is
made and entered into this [●] day of [●], 2024 by and among:

              1) Aspen Valley Ranch Homeowners Association, Inc. (the “HOA”);

              2) Beyond the Beach, LLC (“BTB”);

              3) Chiron AVR LLC (“Buyer”), UBS O’Connor LLC and UBS Asset Management
                 (Americas) LLC (collectively, “UBS”), Wilmington Trust National Association
                 (“WT”), Nineteen77 Capital Solutions A LP (“NCS”), and Bermudez Mutuari, Ltd.
                 (“BML” together with the Buyer, UBS, WT, and NCS, the “Secured Parties”);

              4) Aspen Ranch Acquisition LLC (“Aspen Ranch”);

              5) AVR AH LLC (“AVR”) and Strudel Holdings LLC (“Strudel,” together with
                 AVR, the “Debtors”; and

              6) Karim Souki, Christopher Souki, and Lina Rizzuto, as Trustees (the “Trustees”) of
                 the Souki Family 2016 Trust (the “Trust”), Charif Souki in his individual capacity
                 or otherwise (“Charif Souki”), Chistopher Souki in his individual capacity or
                 otherwise (“Christopher Souki”), Ajax Holdings LLC (“Ajax Holdings”), any
                 and all of the subsidiaries of Ajax Holdings (the “Ajax Subsidiaries”, and, together
                 with Ajax Holdings, “Ajax”), Will Herndon individually and in his capacity as
                 manager of Ajax Holdings and the Ajax Subsidiaries (“Herndon”), Brooke A.
                 Peterson, individually and in his capacity as manager of Ajax Holdings and the
                 Ajax Subsidiaries (“Peterson”) and Karim Souki, individually (“Karim Souki”,
                 and together with Herndon, Peterson, the Trust, the Trustees, Charif Souki,
                 Christopher Souki, and Ajax, the “Souki Affiliates”).             As used herein
                 “Souki/Debtor Parties” shall mean and refer collectively to the Souki Affiliates
                 and the Debtors.

Each of the HOA, BTB, Aspen Ranch, the Secured Parties, the Souki Affiliates and the
Souki/Debtor Parties, may be referred to as a “Party” and collectively as the “Parties.”

                                             RECITALS

A.       WHEREAS, on July 27, 2023 (the “Petition Date”), the Debtors, commenced cases under
         Chapter 11 of title 11 U.S. Code §§ 101, et. seq. (the “Bankruptcy Code”) in the United
         States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”)
         under the caption In re Strudel Holdings LLC, Chapter 11 Case No. 23-90757 (Jointly
         Administered) (the “Bankruptcy Cases”).

B.       WHEREAS, prior to the Petition Date, AVR owned and developed 813 acres of certain
         real property and other related property located in Pitkin County, Colorado commonly


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         referred to as the Aspen Valley Ranch (the “Ranch”); the Ranch initially consisted of 22
         parcels of land (consisting of the HOA Parcels and the Homesteads, as such terms are
         defined below). In connection with the development of the Ranch, the Souki/Debtor
         Parties created the HOA and caused to be contributed certain assets thereto, and: (a) on
         August 20, 2021, AVR caused the Amended and Restated Declaration of Protective
         Covenants for Aspen Valley Ranch (the “CC&Rs”) and other related documents to be
         recorded with the Pitkin County Colorado Recorder (the “Recorder”); and (b) on August
         20, 2021, AVR executed a Bill of Sale and a Bargain & Sale Deed, in favor of the HOA,
         each of which was subsequently recorded with the Recorder, and addressed an aggregate
         of 11 parcels of developed and undeveloped land within the Ranch (collectively, referred
         to as the “HOA Parcels”). The CC&Rs and all other documents related to the Ranch are
         collectively referred to as the “HOA Documents.” The remaining 11 parcels (the
         “Homesteads”) were intended to be sold by the Souki/Debtor Parties.

 C.      WHEREAS, prior and subsequent to the Petition Date, the Souki/Debtor Parties
         transferred certain real and personal property and monetary payments to the HOA
         (collectively with any other transfers to or for the benefit of the HOA by the Souki/Debtor
         Parties, the “HOA Transfers”), including the HOA Assets (as such term is defined in the
         Sale Order, as defined below).

D.       WHEREAS, the HOA alleges that, prior to the Petition Date, the Souki/Debtor Parties
         failed to satisfy certain amounts due to the HOA with respect to the 8 Homesteads (the
         “Debtor Parcels”) owned by AVR totaling approximately $789,199.98 (all such
         outstanding amounts, the “Unpaid Prepetition HOA Obligations”).

E.       WHEREAS, after the Petition Date, the HOA alleges that the Souki/Debtor Parties failed
         to pay approximately $458,054 of such postpetition obligations due to the HOA (all such
         outstanding amounts, the “Unpaid Postpetition HOA Obligations,” together with the
         Unpaid Prepetition HOA Obligations, the “Unpaid HOA Obligations”).

F.       WHEREAS, during the Bankruptcy Case, Buyer and AVR entered into a purchase
         agreement (the “Purchase Agreement”) for the Debtor Parcels pursuant to section 363 of
         the Bankruptcy Code, which was approved by the Bankruptcy Court’s Order (A)
         Authorizing and Approving the Sale of Assets Free and Clear of all Liens, Claims,
         Encumbrances and Other Interests, etc. [Docket No. 245] (the “Sale Order”). AVR closed
         the purchase and sale of the Debtor Parcels to Buyer pursuant to the Purchase Agreement
         on January 31, 2024 (the “Closing”).

G.       WHEREAS, on June 21, 2024, Buyer, as seller, sold the Debtor Parcels to Aspen Ranch,
         as buyer.

H.       WHEREAS, there are disputes and Claims (as defined below) among the Parties,
         including, but not limited to, Claims (i) for avoidance actions and breach of contract, (ii)
         related to the Bankruptcy Cases, the Sale Order, the Ranch, the HOA, the HOA Parcels,
         the HOA Documents, the HOA Transfers, the Unpaid HOA Obligations, the Souki
         Affiliates, and Debtors Parties’ other obligations during the Bankruptcy Cases, (iii) the
         Buyer Parties’ purchase of the Debtor Parcels, and (iv) the Secured Parties’ lien on the


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         HOA Assets (as such term is defined in the Sale Order) (collectively, “Ranch Related
         Claims”).

I.       WHEREAS, on July [●], 2024, the Bankruptcy Court entered an Order [Docket No. [●]]
         (the “Settlement Order”), approving the Debtors’ Emergency Motion to Approve
         Settlement Term Sheet and Dismissal of Chapter 11 Cases [Docket No. 486].

J.       WHEREAS, as provided in the Settlement Order and the Term Sheet (as defined in the
         Settlement Order), the Parties to the Term Sheet agreed to settle the Ranch Related Claims,
         exchange mutual releases with respect to the Ranch Related Claims and enter into the HOA
         Settlement Agreement (as defined in the Term Sheet). This Settlement Agreement shall
         constitute the HOA Settlement Agreement under the Term Sheet.

K.       WHEREAS, without conceding the merit or lack of merit of the Ranch Related Claims or
         any other claim or defense or the existence of any liability whatsoever, the Parties wish to
         settle, compromise, and finally resolve all matters, disputes and Claims, including those
         which might have been the subject matter of potential litigation, among each of (i) the HOA
         Parties (as defined below) and the BTB Parties (as defined below), (ii) the Buyer Parties
         (as defined below), (iii) the Debtor Parties (as defined below), and (iv) the Souki Parties
         (as defined below), as set forth herein.

L.       NOW, THEREFORE, in consideration of the mutual covenants and promises set forth in
         this Settlement Agreement, and for other good and valuable consideration, the adequacy
         and sufficiency of which are hereby acknowledged, the Parties agree as follows:

1.0      DEFINITIONS

1.1      “BTB Parties” means Beyond the Beach, LLC along with its past and/or present
         principals, affiliates, subsidiaries, parents, general partners, limited partners, lawyers,
         advisors, and each such Person’s past and/or present administrators, predecessors,
         successors, agents, heirs, trustees executors, transferees, members, parents, subsidiaries,
         employees, principals, officers, managers, directors, partners, limited partners, investment
         bankers, lawyers, advisors, representatives, estates, divisions, financial advisors, estate
         managers, assigns, insurers, and reinsurers.

1.2      “Buyer Parties” means each of the Secured Parties and Aspen Ranch, in each case, along
         with their respective past and/or present principals, affiliates, subsidiaries, parents, general
         partners, limited partners, lawyers, advisors, and any Person in which they have or had a
         controlling interest, and each such Person’s past and/or present administrators,
         predecessors, successors, agents, heirs, trustees executors, transferees, members, parents,
         subsidiaries, employees, principals, officers, managers, directors, partners, limited
         partners, investment bankers, lawyers, advisors, representatives, estates, divisions,
         financial advisors, estate managers, assigns, insurers, and reinsurers.

1.3      “Claims” means each Ranch Related Claims and any and all past, present and future
         claims, demands, rights, liabilities, losses, obligations, duties, damages, costs, interests,
         debts, expenses, charges, penalties, sanctions, fees, attorneys’ fees, actions, potential
         actions, causes of action, suits, agreements, judgments, decrees, matters, issues and

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         controversies of any kind, nature and description whatsoever, (i) whether disclosed or
         undisclosed, known or unknown, accrued or unaccrued, matured or not matured, perfected
         or not perfected, choate or inchoate, liquidated or not liquidated, fixed or contingent,
         ripened or unripened; and (ii) whether at law or equity, whether based on or arising under
         state, local, foreign, federal, statutory, regulatory, common or other law or rule and upon
         any legal theory (including, but not limited to, claims sounding in tort or contract or arising
         under federal or state securities laws), no matter how asserted.

1.4      “Debtor Parties” means each of the Debtors, in each case, along with their respective past
         and/or present principals, affiliates, subsidiaries, parents, general partners, limited partners,
         lawyers, advisors, and any Person in which they have or had a controlling interest, and each
         such Person’s past and/or present administrators, predecessors, successors, agents, heirs,
         trustees, executors, transferees, members, parents, subsidiaries, employees, principals,
         officers, managers, directors, partners, limited partners, investment bankers, lawyers,
         advisors, representatives, estates, divisions, financial advisors, estate managers, assigns,
         insurers, and reinsurers.

1.5      “HOA Parties” means Aspen Valley Ranch Homeowners Association, Inc. along with
         their past and/or present principals, affiliates, subsidiaries, parents, general partners,
         limited partners, lawyers, advisors, and any Person in which they have or had a controlling
         interest, and each such Person’s past and/or present administrators, predecessors,
         successors, agents, heirs, trustees, executors, transferees, members, parents, subsidiaries,
         employees, principals, officers, managers, directors, partners, limited partners, investment
         bankers, lawyers, advisors, representatives, estates, divisions, financial advisors, estate
         managers, assigns, insurers, and reinsurers.

1.6      “Person” means an individual, corporate entity, partnership, association, joint stock
         company, limited liability company, estate, trust, government entity (or any political
         subdivision or agency thereof) and any other type of business or legal entity.

1.7      “Released Claims” means any and all Claims released pursuant to Section 4, Section 5,
         Section 6 or Section 7 of this Settlement Agreement.

1.8      “Souki Parties” means the Souki Affiliates along with each of their respective past and/or
         present principals, affiliates, subsidiaries, parents, general partners, limited partners,
         lawyers, advisors, and any Person in which they have or had a controlling interest, and each
         such Person’s past and/or present administrators, predecessors, successors, agents, heirs,
         trustees, executors, transferees, members, parents, subsidiaries, employees, principals,
         officers, managers, directors, partners, limited partners, investment bankers, lawyers,
         advisors, representatives, estates, divisions, financial advisors, estate managers, assigns,
         insurers, and reinsurers.

1.9      Terms defined in the Recitals. All terms defined in the foregoing Recitals shall apply
         throughout this Settlement Agreement.

2.0      PAYMENTS AND CONSIDERATION



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2.1      In consideration of the promises and releases set forth herein, Buyer shall pay to the HOA,
         via wire transfer, within one (1) Business Day of the events in (1) and (4) of the definition
         of “Settlement Date” (provided in Section 8 below) occurring, the sum of $458,054, in
         indefeasible funds (the “Settlement Payment”).

2.2      The Parties hereby acknowledge the sufficiency of promises, mutual covenants and the
         consideration paid, given and referenced herein.

3.0      TRANSACTION APPROVAL PROCESS AND USE OF PROCEEDS

3.1      Each Party acknowledges and agrees that each other Party has an interest in this Settlement
         Agreement and each Party’s interest has been disclosed to each other Party.
         Notwithstanding each Party’s interest, each Party acknowledges and agrees that this
         Settlement Agreement, the releases granted herein are, when taken as a whole, in the best
         interests of each Party. Each Party hereby waives, to the maximum extent permitted by
         law governing the HOA, any claim against any other Party arising from its interest or any
         claim that this Settlement Agreement is invalid as a result thereof.

3.2      Aspen Ranch, the HOA, and BTB agree that: (1) the Settlement Payment shall be deposited
         into the HOA’s Capital Improvement Reserve Account (the “Capital Improvement
         Account”); (2) the funds in the Capital Improvement Account, inclusive of the funds
         currently therein and the Settlement Payment, will be used, to the extent necessary, for the
         following capital improvements (together, the “Current Capital Improvements”) to the
         HOA’s property: (a) repair and capping of the stone work within the portion of the Ranch
         maintained by the HOA; (b) repair of the pool water supply line leak and associated
         stone/cement work; and (c) to the extent funds in the Capital Improvement Account are not
         needed for the Current Capital Improvements, such remaining funds will remain in the
         Capital Improvement Account, will be augmented by funds deposited into the Capital
         Improvement Account, from time to time pursuant to the HOA Documents, and will be
         utilized solely for future capital improvements to, repair of, and maintenance of the HOA’s
         property. The approval of this Settlement Agreement pursuant to the Written Statement of
         Consent to Action Taken in Lieu of a Meeting of the Owners of Aspen Valley Ranch
         Homeowners Association, Inc. constitutes the approval of the agreements set forth in this
         Section 3.2, and no further approval is required, and the HOA, including its operating
         manager(s), are authorized and directed to undertake the Current Capital Improvements
         following receipt of the Settlement Payment.

4.0      RELEASE BY THE DEBTORS, HOA, AND BTB IN FAVOR OF THE BUYER
         PARTIES

         In exchange for the Settlement Payment, the Lien Releases (defined below) on the HOA
         Assets (as defined in the Sale Order) and the other agreements set forth herein, each and
         every one of the Debtor Parties, HOA Parties, and BTB Parties shall, upon the Settlement
         Date have and be deemed by operation of law to have completely, fully, finally and forever
         dismissed, released, relinquished and discharged with prejudice each and every one of the
         Buyer Parties from any and all Claims that the Debtor Parties, HOA Parties, and BTB
         Parties ever had, now have or hereafter can, shall, or may have for, upon, or by reason of


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         any matter, cause or thing whatsoever from the beginning of the world to the Settlement
         Date, that arise from, relate to, or are in connection with: (1) the Ranch Related Claims;
         (2) the entry into this Settlement Agreement; and (3) the Bankruptcy Cases; provided,
         however, that this release does not include any release by any HOA Parties and/or BTB
         Parties on matters related to Aspen Ranch’s ownership of the Debtor Parcels, Aspen
         Ranch’s obligations under the HOA Documents, Aspen Ranch’s obligations as an HOA
         Member (as defined in the HOA Documents), Aspen Ranch’s management, control and/or
         involvement in the HOA, as, inter alia, a member(s), or their designation or appointment
         of member(s) of the Board of Directors of the HOA, or any Claims or actions to enforce
         this Settlement Agreement, arising on or after June 21, 2024 (the date on which Aspen
         Ranch purchased the Debtor Parcels from the Buyer).

5.0      RELEASE BY THE BUYER PARTIES OF THEIR CLAIMS AGAINST THE HOA
         ASSETS, THE HOA PARTIES AND THE BTB PARTIES

5.1      Notwithstanding the Sale Order, and without limiting the release of the lien on the HOA
         Assets as set forth in the Settlement Order, in exchange for the release granted to the Buyer
         Parties, no later than the fifth business day after the entry of the Settlement Order on the
         Bankruptcy Court’s Docket, the Secured Parties shall deliver, in recordable form, to
         counsel for the HOA, the documents reasonably necessary in the sole reasonable discretion
         of counsel for the HOA, to release any and all liens, deeds of trust, claims, security
         interests, encumbrances and interests of any kind and nature against the HOA Assets (as
         defined in Sale Order) (the “Lien Releases”). The Secured Parties and/or the Buyer, as
         applicable, agree to take all actions reasonably requested by the HOA to cause the Lien
         Releases on the HOA Assets. For the avoidance of doubt, nothing contained herein shall
         be deemed a release by Buyer Parties of any other Claims held by Buyer Parties against
         the Souki Parties or any affiliates or insiders of the Souki Parties. Further, for avoidance
         of doubt, for all purposes herein, the HOA Parties and the BTB Parties are not, and shall
         not be asserted or deemed to be, an affiliate or insider of the Debtor Parties or the Souki
         Parties.

5.2      In exchange for the release in Section 4.0 and the other agreements set forth herein, each
         and every one of the Buyer Parties shall, upon the Settlement Date, have and be deemed
         by operation of law to have completely, fully, finally and forever dismissed, released,
         relinquished and discharged with prejudice each and every one of the HOA Parties and
         BTB Parties from any and all Claims that the Buyer Parties ever had, now have or hereafter
         can, shall, or may have for, upon, or by reason of any matter, cause or thing whatsoever
         from the beginning of the world to the Settlement Date, that arise from, relate to, or are in
         connection with: (1) the Ranch Related Claims; (2) the entry into this Settlement
         Agreement; and (3) the Bankruptcy Cases; provided, however, that this release does not
         include any release by Aspen Ranch of the HOA, arising on or after June 21, 2024, on
         matters related to the management and control of the HOA or any Claims or actions to
         enforce this Settlement Agreement.

6.0      RELEASE AMONG THE SOUKI PARTIES, THE DEBTOR PARTIES, THE HOA
         PARTIES, AND THE BTB PARTIES.



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         In exchange for the mutual releases provided herein, each of (x) the HOA Parties and BTB
         Parties, on the one hand, and (y) the Souki Parties and the Debtor Parties, on the other,
         shall be effective upon the Settlement Date have and be deemed by operation of law to
         have completely, fully, finally and forever dismissed, released, relinquished and discharged
         with prejudice each other from any and all Claims that the HOA Parties, BTB Parties,
         Debtor Parties and/or Souki Parties ever had, now have or hereafter can, shall, or may have
         for, upon, or by reason of any matter, cause or thing whatsoever from the beginning of the
         world to the Settlement Date, including, without limitation, Claims that arise from, relate
         to, or are in connection with: (1) the Ranch Related Claims; (2) the entry into this
         Settlement Agreement; and (3) the Bankruptcy Cases; provided, however, that this release
         does not include any Claims or actions to enforce this Settlement Agreement.

7.0      RELEASE OF UNKNOWN CLAIMS

         Each Party acknowledges that it has been advised by its attorneys concerning, and is
         familiar with, California Civil Code Section 1542 and expressly waives any and all
         provisions, rights, and benefits conferred by any law of any state or territory of the United
         States, or principle of common law, which is similar, comparable, or equivalent to the
         provisions of the California Civil Code Section 1542, including that provision itself, which
         reads as follows:

         “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
         CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR
         AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR
         HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH
         THE DEBTOR.”

         The Parties acknowledge that inclusion of the provisions of this Section 7.0 in this
         Settlement Agreement was a material and separately bargained for element of this
         Agreement. The Parties agree that California law is not applicable to this Settlement
         Agreement, and do not consent to the jurisdiction of a California court nor the application
         of California law to adjudicate any disputes under this Settlement Agreement. Rather, and
         as reflected in Section 12.0 below, the Parties have agreed that this Settlement Agreement
         is governed by and shall be construed in accordance with the laws of the State of New York
         without regard to conflicts of law principles.

8.0      SETTLEMENT DATE

         The releases and agreements set forth in Sections 4, 5, 6 and 7 of this Settlement Agreement
         shall become binding and effective the first business day following the satisfaction of all
         of the following conditions: (1) execution of this Settlement Agreement by each of the
         Parties hereto; (2) the receipt of the Settlement Payment by the HOA; (3) the Bankruptcy
         Court’s entry of the Settlement Order and (4) execution of the Written Statement of
         Consent to Action Taken in Lieu of a Meeting of the Owners of Aspen Valley Ranch
         Homeowners Association (the occurrence of each of (1), (2), (3) and (4) shall be the
         “Settlement Date”).



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9.0      REPRESENTATIONS AND WARRANTIES

         Each Party represents and warrants, to the best of their knowledge and belief, as of the
         Execution Date and the Settlement Date that:

         (i)     It has the full legal authority, right, and capacity to enter into this Settlement
         Agreement on its behalf and to bind the Party to perform its obligations hereunder,
         including any third-party authorization necessary to release the claims being released
         hereunder. This Settlement Agreement has been duly and validly executed and delivered
         by such Party and, assuming due authorization, execution and delivery by the other Party,
         constitutes a legal, valid and binding obligation of such Party, enforceable against such
         Party in accordance with its terms, subject to laws of general application relating to
         bankruptcy, insolvency and the relief of debtors and rules of law governing specific
         performance, injunctive relief or other equitable remedies.

         (ii)    The execution and delivery of this Settlement Agreement, the performance by such
         Party of its obligations hereunder and the consummation of the transactions contemplated
         hereby, will not: (a) result in the violation by such Party of any statute, law, rule, regulation
         or ordinance or any judgment, decree, order, writ, permit or license of any governmental
         or regulatory authority applicable to such Party; or (b) require such Party to obtain any
         consent, approval or action of, make any filing with or give any notice to any person, which
         action has not already been undertaken and accomplished by such Party;

         (iii)   It has not assigned, subrogated, pledged, loaned, hypothecated, conveyed or
         otherwise transferred, voluntarily or involuntarily, to any other person or entity, its
         respective Released Claims, or any interest in or part or portion thereof, specifically
         including any rights arising out of its respective Released Claims; and

         (iv)   It has read and understands this Settlement Agreement and it has consulted with its
         attorneys before signing it.

10.0     COVENANTS

         In further consideration of the promises set forth herein, as of the Settlement Date:

10.1     Each of the Parties covenants that it shall not encourage, solicit, initiate, institute,
         commence, file, maintain or otherwise prosecute, whether directly or indirectly, or through
         a third party, any action, lawsuit, cause of action, claim, demand, or legal proceeding any
         kind to arising out of relating to any of the Released Claims. Notwithstanding anything
         herein to the contrary, each of the Parties may commence an action to enforce the terms of
         this Settlement Agreement, and each of the Parties covenants and agrees that this
         Settlement Agreement may be pleaded as a defense, counterclaim or crossclaim, and shall
         be admissible into evidence without any foundation or testimony whatsoever.

10.2     Each of the Parties agree that they and each of them will not: (a) object to, or otherwise
         oppose in any way, or encourage, induce, direct, endorse or otherwise support or aid in any
         way whatsoever any person or entity to object to, oppose, impede, modify, or otherwise


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         challenge or contest the Settlement Order, including as it relates to this Settlement
         Agreement; and (b) will not seek, aid, encourage, endorse, direct, suggest to, or otherwise
         support any person or entity to seek to set aside, avoid or otherwise challenge in any way
         the Settlement Order and this Settlement Agreement (including the enforceability thereof)
         or otherwise allege that the Settlement Order, and this Settlement Agreement are in, in
         whole or in part, any way invalid, entered into without fair and reasonable consideration, a
         fraudulent transfer, or otherwise seek to void or challenge the terms or recitals of the
         Settlement Order and this Settlement Agreement.

11.0     ATTORNEYS’ FEES AND LIENS

         Each Party hereto shall bear all attorneys’ fees and costs arising from the actions of its own
         counsel in connection with this Settlement Agreement and the matters and documents
         referred to herein.

12.0     GOVERNING LAW

         This Settlement Agreement shall be construed and interpreted in accordance with the laws
         of the State of New York without regard to choice of law or conflicts of law principles.

13.0     CONSENT TO JURISDICTION

         Any disputes relating to this Settlement Agreement shall be brought exclusively in the
         Bankruptcy Court. All Parties submit to the personal jurisdiction of the Bankruptcy Court
         for purposes of implementing and enforcing the settlement embodied in this Settlement
         Agreement. The Parties otherwise expressly reserve their jurisdictional rights as to any
         action, suit or proceeding not involving a dispute relating to this Settlement Agreement.

14.0     ADDITIONAL DOCUMENTS

         The Parties agree to cooperate fully and execute any and all supplementary documents and
         to take all additional actions which may be necessary or appropriate to give full force and
         effect to the terms and intent of this Settlement Agreement. Upon execution of the
         Settlement Agreement, the Parties agree to support any request by the Debtors to dismiss
         the Bankruptcy Case.

15.0     ENTIRE AGREEMENT AND SUCCESSORS IN INTEREST

         This Settlement Agreement constitutes the entire agreement to settle and resolve the
         Released Claims released by this Settlement Agreement among the Parties and overrides
         and replaces all prior negotiations and terms proposed, discussed, or agreed to, whether in
         writing or orally, about the subject matter. No modification of this Settlement Agreement




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         shall be valid unless it is in writing, identified as an amendment to the Settlement
         Agreement, and signed by all Parties.

16.0     NON-ADMISSION OF LIABILITY

         The Parties hereto recognize and agree that this Settlement Agreement is a compromise of
         a disputed claim. Nothing in this Settlement Agreement or the compromise reached shall
         be construed as an admission of liability or wrongdoing by any persons or Party as to any
         claims made.

17.0     RELEASE CONFIDENTIAL AND INADMISSIBLE

         Other than the permissible disclosures described in Section 16.1 above, the Parties will not
         voluntarily issue or make any statement to any person or entity including, but not limited
         to, statements to news media, concerning the terms of this Settlement Agreement, including
         all facts, circumstances, statements, and documents relating thereto. Furthermore, the
         terms of this Settlement Agreement shall not be admissible or submitted as evidence in any
         proceeding in any forum for any purpose other than in a proceeding to secure enforcement
         of the terms and conditions of this Settlement Agreement, the Settlement Order, or except
         as otherwise provided herein. In any proceeding to enforce the terms of this Settlement
         Agreement, the Settlement Agreement may be introduced only under seal so as to maintain
         the confidentiality contemplated herein.

18.0     COUNTERPARTS

         This Settlement Agreement may be executed in any number of counterparts, and each such
         counterpart shall be deemed to be an original instrument, but all such counterparts together
         shall constitute one agreement.

19.0     HEADINGS

         The headings to the various clauses of this Settlement Agreement have been inserted for
         convenience only and shall not be used to interpret or construe the meaning of the terms
         and provisions hereof.

20.0     NOTIFICATION REQUIRED BY THIS AGREEMENT

         Nothing herein shall prevent the Parties from producing information, documents, or
         testimony as requested or required by any court or other governmental body, including but
         not limited to responding to a court order, subpoena, discovery, or other legal process
         requesting information. If any Party receives a court order, subpoena, discovery, or other
         legal process requiring disclosure of this Settlement Agreement or any drafts hereof;
         matters relating to the events precipitating this Settlement Agreement; the content of the
         Settlement Agreement (other than as may be permitted by Section 15.1 hereof), including
         the amount of the settlement and the terms of the Settlement Agreement; any of the
         discussions pertaining to the Settlement Agreement; and/or any matter covered by this
         Settlement Agreement, that Party shall immediately provide the other Party with a copy of
         the court order, subpoena, or other legal process to allow the other Party time to formally


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         object prior to the provision of testimony, production of documents or information, or
         participation in any other manner in any such proceeding (the “Notification Requirement”).
         The Notification Requirement does not apply to the extent that it would violate any
         applicable law and also does not apply to any subpoena, discovery, legal process, or other
         demands made by any regulatory, governmental, or law enforcement agency.

21.0     WAIVER OF TERMS

         No waiver of any provision of this Settlement Agreement shall be valid unless in writing
         and signed by the Party against whom it is sought to be enforced. The failure of any Party
         at any time to insist upon strict performance of any condition, promise, agreement or
         understanding set forth herein, shall not be construed as a waiver or relinquishment of the
         right to insist upon strict performance of the same condition, promise, agreement or
         understanding at a future time.

22.0     SEVERABILITY

         If any provision, term or clause of this Settlement Agreement is declared illegal,
         unenforceable, or ineffective in any legal forum, said provision, term or clause shall be
         deemed severable, such that all other provisions, terms and clauses of this Settlement
         Agreement shall remain valid and binding upon all Parties. Should a new agreement
         without the unenforceable provision be required, the Parties will execute such new
         agreement without any additional consideration.

23.0     SURVIVAL OF TERMS OF AGREEMENT

         The Parties understand and agree that the terms set out in this Settlement Agreement, shall
         survive the signing of this Settlement Agreement and the payment of the Settlement
         Payment.

24.0     REPRESENTATION AND VOLUNTARY EXECUTION

         Each Party to this Settlement Agreement represents and acknowledges that it has been
         represented by counsel with respect to this Settlement Agreement. Each Party has been
         fully advised with respect to all rights which are affected by this Settlement Agreement.
         Each Party represents and warrants that it read, knows, and understands the contents of this
         Settlement Agreement, has executed this Settlement Agreement voluntarily and free from
         coercion, and has not been influenced by any statements, promises, actions, or
         representations made by any other party or its agents, representatives, or attorneys, except
         as specifically memorialized in this Settlement Agreement.

25.0     NOTICES

         Notices required by this Settlement Agreement shall be communicated by email and any
         form of overnight mail or in person to:

         (i)        On behalf of Aspen Valley Ranch Homeowners Association, Inc.:


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                    Aspen Valley Ranch Homeowners Association, Inc.
                    Charles Andros, President
                    c/o Bay Point Advisors
                    3050 Peachtree Road NW
                    Suite 740
                    Atlanta, GA 30305

                    Ben Johnston, Esq.
                    Johnston Van Arsdale Martin PLLC
                    901 Grand Avenue, Suite 201
                    Glenwood Springs, CO 81601
                     E-mail: ben@jvamlaw.com

         (iii)      On behalf of Beyond the Beach, LLC:

                    Pachulski Stang Ziehl & Jones, LLP
                    700 Louisiana Street, Suite 4500
                    Houston, TX 77002
                    Attn: Michael D. Warner
                    E-mail: mwarner@pszjlaw.com

         (iv)       On behalf of Buyer Parties:

                    UBS Asset Management (Americas) LLC
                    One North Wacker Dr., Floor 31
                    Chicago, IL 60606
                    Attn: Randal Johnson, Lilly Kaufmann, and Connor Burke
                    E-mail: randal.johnson@ubs.com; lilly.kaufmann@ubs.com;
                    connor.burke@ubs.com

                    Alston & Bird LLP
                    2200 Ross Avenue
                    Dallas, TX 75201
                    Attn: Sam Bragg, William Hao, and Chris Riley
                    E-mail: Sam.Bragg@alston.com; William.Hao@alston.com;
                    Chris.Riley@alston.com

                    Orrick, Herrington & Sutcliffe LLP
                    51 West 52nd Street
                    New York, NY 10019
                    Attn: Laura Metzger
                    E-mail: lmetzger@orrick.com

         (v)        On behalf of the Souki Affiliates

                    Hunton Andrews Kurth LLP
                    600 Travis, Suite 4200


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                    Houston, Texas 77018
                    Attn: Tad Davidson
                    E-mail: taddavidson@huntonak.com


                               [SIGNATURE PAGE FOLLOWS]




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27.0     SIGNATURES

       IN WITNESS WHEREOF the Parties or their duly authorized representatives have
caused this Settlement Agreement to be executed.

                                          Aspen Valley Ranch Homeowners
                                          Association, Inc.

 DATED:                                   By: _________________________________
                                          Name: [ ]
                                          Title: [ ]




                                          Beyond the Beach, LLC

 DATED:                                   By: _________________________________
                                          Name: Seth Brufsky
                                          Title: Manager




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                                         Chiron AVR LLC

                                         By: UBS Asset Management (Americas)
                                         LLC, as investment manager

 DATED:                                  By: _________________________________
                                         Name:
                                         Title:

 DATED:                                  By: _________________________________
                                         Name:
                                         Title:


                                         Nineteen77 Capital Solutions A LP
 DATED:                                  By: UBS Asset Management (Americas)
                                         LLC

                                         By: _________________________________
                                         Name:
                                         Title:

                                         By: _________________________________
 DATED:                                  Name:
                                         Title:




                                         Bermudez Mutuari, Ltd.

                                         By: UBS Asset Management (Americas)
                                         LLC, as investment manager
 DATED:                                  By: _________________________________
                                         Name:
                                         Title:

 DATED:                                  By: _________________________________
                                         Name:
                                         Title:

                                         Wilmington Trust National Association

 DATED:                                  By: _________________________________
                                         Name:
                                         Title:


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                                         AVR AH LLC

 DATED:                                  By: _________________________________
                                         Name:
                                         Title:

                                         Strudel Holdings LLC

 DATED:                                  By: _________________________________
                                         Name:
                                         Title:




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 DATED:                    , 2024        Souki Family 2016 Trust


                                         By:
                                         Name: Karim Souki
                                         Title: Trustee


                                         By:
                                         Name: Christopher Souki
                                         Title: Trustee


                                         By:
                                         Name: Lina Rizzuto
                                         Title: Trustee



 DATED:                    , 2024
                                         Karim Souki




 DATED:                    . 2024
                                         Christopher Souki




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 DATED:                    , 2024        Ajax Holdings LLC and the subsidiaries
                                         thereof


                                         By:
                                         Name: Will Herndon
                                         Title: Trustee



 DATED:                    , 2024
                                         Will Herndon




 DATED:                    , 2024
                                         Brooke A. Peterson




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 DATED:                    , 2024


                                         Charif Souki




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                       EXHIBIT 3
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


                                                              §
In re:                                                        § Chapter 11
                                                              §
STRUDEL HOLDINGS LLC and                                      § Case No. 23-90757 (CML)
AVR AH LLC,                                                   §
                                                              § (Jointly Administered)
                   Debtors.1                                  §
                                                              §

                             ORDER DISMISSING CHAPTER 11 CASES
                                   [Relates to Docket No. ____]

         Based upon the certification by the Debtors that the Settlement Effective Date has occurred

in accordance with this Court’s Order at Docket No. ___________, it is hereby ORDERED that:

         1.       Case No. 23-90757 and Case No. 23-90758 are hereby DISMISSED.

         2.       Porter Hedges LLP and Stout Risius Ross, LLC (“Stout”) are immediately

authorized to (i) satisfy outstanding United States Trustee fees (if any) from the Administrative

Expense Payment (as defined in the Order at Docket No. ____) and (ii) apply all funds currently

held in their respective trust accounts, retainers and the remaining proceeds of the Administrative

Expense Payment to satisfy their accrued and outstanding fees and expenses that have been

previously approved for payment pursuant to interim fee applications and/or fee statements that

have been previously filed in these cases. All prior interim fee applications and fee statements

finally approved and the Debtors’ professionals shall not be required to file final fee applications.

For fees and expenses incurred after June 30, 2024, the Debtors’ professionals shall file fee

statements in accordance with the Interim Compensation Order at Docket No. 142 and such


1      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen,
CO 81612.

                                                          1
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amounts may be paid, from the Administrative Expense Payment, after applicable objection

deadlines have run and shall be deemed allowed on a final basis with no need to file any further

fee applications. Porter Hedges LLP and Stout are discharged from their retention with the

Debtors.

       3.      Notwithstanding anything to the contrary, including, without limitation, section 349

of the Bankruptcy Code, all prior orders, releases, stipulations, settlements, rulings, orders and

judgments of this Court made during the course of the Bankruptcy Cases shall remain in full force

and effect, shall be unaffected by the dismissal of the Bankruptcy Cases, and are specifically

preserved for purposes of finality of judgment and res judicata unless expressly amended or

overruled by a subsequent stipulation, settlement, order or judgment of this Court, as applicable.

       4.      These chapter 11 cases may be re-opened for purposes of enforcing the terms of the

Order at Docket No. ____, the Term Sheet, the final settlement agreement contemplated in the

Term Sheet and the settlement with the AVR HOA and the Court shall retain jurisdiction to enforce

such agreements. Notwithstanding the dismissal of the Chapter 11 Cases, this Court shall retain

jurisdiction with respect to any matters, claims, rights or disputes arising from or related to the

implementation, interpretation, or enforcement of this or any other Order of this Court entered in

the Chapter 11 Cases, including this Order.

Signed:                       , 2024.


                                              HONORABLE CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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